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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

 ANNA CHRONIS,                                     )
                                                   )
                                 Plaintiff,        )   No.
                                                   )
                         v.                        )   Judge
                                                   )
 TAMIKA ALEXANDER, M.D., and UIH-                  )   Formerly Case No. 2017 M1 301196
 MILE SQUARE HEALTH CENTER,                        )   Circuit Court of Cook County, Illinois
                                                   )
                                 Defendants.       )

                    NOTICE OF REMOVAL OF A CIVIL ACTION AND
                 SUBSTITUTION OF THE UNITED STATES AS DEFENDANT

  To:         Dorothy Brown                              Anna Chronis
              Clerk of the Circuit Court                 3759 N. New England
              Richard J. Daley Center, Room 1001         Chicago, Illinois 60634
              50 West Washington Street
              Chicago, Illinois 60602

         The United States of America, by its attorney, Joel R. Levin, Acting United States Attorney

for the Northern District of Illinois, submits this notice of removal of the above-captioned civil

action from the Circuit Court of Cook County, Illinois, to the United States District Court,

Northern District of Illinois, pursuant to 42 U.S.C. § 233, and in support thereof states the

following:

         1.       On June 27, 2017, plaintiff Anna Chronis, commenced the above civil action

against Tamika Alexander, M.D. and the University of Illinois Mile Square Health Center alleging

medical malpractice. A copy of the state court complaint is attached as Exhibit A. For purposes

of this lawsuit, University of Illinois Mile Square Health Center is a private entity that receives

grant money from the Public Health Service pursuant to 42 U.S.C. § 233. See Exhibit B. In

addition, Tamika Alexander, M.D., was acting within the scope of her employment at the
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University of Illinois Mile Square Health Center with respect to the incidents referred to in the

complaint. Id.

        2.       This notice of removal is filed in accordance with 42 U.S.C. § 233 upon

certification by the designee of the Attorney General of the United States that defendant University

of Illinois Mile Square Health Center was a private entity receiving grant money from the Public

Health Service and that defendant Tamika Alexander, M.D., was acting within the scope of her

employment at the University of Illinois Mile Square Health Center with respect to the incidents

referred to in the complaint. Exhibit B.

        3.       This notice of removal may be filed without bond at any time before trial. 42 U.S.C.

§ 233(c). Trial has not yet been had in this action.

        4.       Pursuant to the certification by the Attorney General’s designee and the filing of

this notice of removal, under 42 U.S.C. § 233(c), this civil action is deemed an action against the

United States of America, and the United States is substituted as the sole federal party defendant

in place of defendants University of Illinois Mile Square Health Center and Tamika Alexander,

M.D.




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        WHEREFORE, this action now pending in the Circuit Court of Cook County, Illinois, is

properly removed to this court pursuant to 42 U.S.C. § 233, and the United States is substituted as

the defendant in lieu of University of Illinois Mile Square Health Center and Tamika Alexander,

M.D.

                                             Respectfully submitted,

                                             JOEL R. LEVIN
                                             Acting United States Attorney

                                             By: s/ Scott D. Heffron
                                                SCOTT D. HEFFRON
                                                Assistant United States Attorney
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    EXHIBIT A
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     EXHIBIT B
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                                        CERTIFICATION

         Pursuant to the provisions of 42 U.S.C. § 233, and by virtue of the authority delegated to

me by the Attorney General under 28 C.F.R. § 15.4 and through the United States Attorney for the

Northern District of Illinois, I hereby certify that I have read the complaint in Anna Chronis v.

Tamika Alexander, et al., No. 2017-M1-301196 (Circuit Court of Cook County, Illinois), and all

attachments thereto. On the basis of the information now available, I find that at the relevant

times, the University of Illinois Mile Square Health Center was a private entity receiving grant

money from the Public Health Service pursuant to 42 U.S.C. § 233. Further, I certify that Tamika

anderson, M.D., was acting within the scope of her employment at the Health Center with respect

to the incidents referred to in the complaint. Accordingly, for purposes of the above case,

University of Illinois Mile Square Health Center and Tamika Anderson, M.D., are deemed to be

employees of the United States pursuant to 42 U.S.C. § 233, for federal statutory tort purposes

only.


                                               s/ Thomas P. Walsh
                                              THOMAS P. WALSH
                                              Chief, Civil Division
                                              Office of the United States Attorney
                                                  for the Northern District of Illinois

Date: August 10, 2017
